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                              IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF DELAWARE



UNITED STATES OF AMERICA,                     )
                                              )
                 Plaintiff,                   )
                                              )
       V.                                     )       Crim. No. 14-13-9-RGA
                                              )       Crim. No. 14-27-4 RGA
DESHA WN GROCE,                               )
                                              )
                 Defendant.                   )




                                        MEMORANDUM

       The United States has moved for a protective order. (D.I. 127). 1 The Defendant has filed

an opposition. (D.I. 136). The United States has filed a reply. (D.I. 149).

       The Court notes that the motion asserts that the defendants "will be able to ascertain the

identity of the witnesses and confidential sources upon disclosure of the discoverable material."

(D.I. 127, 'J 7). The Government states that it is seeking to prevent the defendants from keeping

copies of "certain sensitive information." (!d., 'J 9). "The only limitation the United States seeks

is on the physical possession of these documents and its information by the Defendants in

prison." (ld., 'J 12). The proposed protective order describes "information provided by third

parties, information relating to cooperating individuals and civilian witnesses, and other relevant

materials related to this investigation and prosecution" as the "Sensitive Information." The

proposed order prohibits the disclosure of the contents of the "Sensitive Information" by the

Defendant and defense counsel. (!d., 'J 4). It prohibits defense counsel from leaving "Discovery"


       1
           All references to docket items use the numbering in No. 14-13.
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in the Defendant's custody or control. !d. I presume "Discovery" in this context is the same as

"Sensitive Information."

        In his opposition, the Defendant asserts that his "primary objection" is that the protective

order would "prohibit [the Defendant] from having meaningful access to the discovery and

evidence that the United States intends to offer against him at trial, including recorded telephone

conversations obtained by wiretaps and transcripts thereof, and witness statements which are to

be provided to defendants pursuant to the Jencks Act." (D.I. 136, at 2) (emphasis added). The

Defendant follows up by arguing that procedures within FDC Philadelphia would adequately

address the Government's concerns. Defendant notes that he has been moved out ofFDC

Philadelphia to a Delaware County facility, and argues that the procedures used at FDC

Philadelphia can be used anywhere. It does not seem self-evidently true that Defendant's

assertion is correct, but presumably an evidentiary hearing could probe into that issue.

       In the Government's reply, it discusses the impact of the Jencks Act, but is silent about

the "wiretaps and transcripts thereof," i.e., the first listed concern. The Government states,

correctly, that the Jencks Act does not compel the Government to produce witness statements

prior to the conclusion of direct testimony of a witness. (D.I. 149 at 2).

       It is thus unclear to me whether there is any real dispute on the subject of the wiretaps and

the transcripts. Disclosure of the wiretaps and the transcripts thereof do not implicate the "safety

of witness" concerns the Government has. With the understanding that the Government does not

consider those materials as "Sensitive Information," that satisfies the Defendant's first concern.

As to the witness statements, the Government's concern for safety is real, and since there is no

obligation to tum them over at this time, the restrictions that are put on them if they are marked

as "Sensitive Information" do not, in my opinion, deprive the Defendant of any constitutional or
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statutory rights. 2

        Thus, I will GRANT the Government's motion as to Defendant Groce, and the Protective

Order (D.I. 130) now APPLIES TO DEFENDANT GROCE.




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          The Government has provided no information about how many witness statements there
are, and whether there would be any particular difficulties in reading and absorbing them.
Presumably, the disclosure of these to the Defendant in the days before trial, so as to minimize
trial disruption, is a topic that should be on the pretrial conference agenda. Further, if defense
counsel, after obtaining the statements, has a particularized concern upon review of them, he
should bring the concern up by letter or motion.
